
83 So.3d 1000 (2012)
A.E., Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-173.
District Court of Appeal of Florida, Third District.
March 28, 2012.
Carlos J. Martinez, Public Defender, and John Eddy Morrison, Assistant Public Defender, for appellant.
Pamela Jo Bondi, Attorney General, and Natalia Costea, Assistant Attorney General, for appellee.
Before SUAREZ, ROTHENBERG, and SALTER, JJ.
ROTHENBERG, J.
A.E. appeals the judgment for involuntary civil commitment entered pursuant to Chapter 394, Florida Statutes (2011), the "Baker Act." Because there was competent substantial evidence to support the commitment, we affirm.
A.E., who was arrested in 2005 and charged with aggravated battery, was found incompetent on September 27, 2006, and has remained incompetent with no substantial probability that she will become competent to stand trial in the foreseeable future. A.E. suffers from schizophrenia and is paranoid. Despite taking her medications, when evaluated just prior to the hearing conducted by the trial court, A.E. was agitated, exhibited "unusual gestures," was easily distractible, had difficulty focusing, was seen responding to voices, and at times appeared disorganized, unable to express herself in a rational manner, and delusional. A.E. has a long history of mental illness, perceptual disturbances, substance abuse, numerous hospitalizations, and non-compliance with treatment and medication. The trial court additionally noted that A.E. has poor insight *1001 as to her condition and mental health needs, she had to be placed on suicidal precautions approximately two weeks prior to the hearing, and numerous attempts to place her in the community have failed.
Based on these observations and findings, we conclude there is competent substantial evidence to satisfy the requirements of section 394.467(1)(a)1.b., Florida Statutes (2011), which is the sole criteria challenged on appeal.
Affirmed.
